Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 1 of 6 Page ID #:417




    1   KENNETH A. FEINSWOG
    2   kfeinswog@aol.com
        Bar No. 129562
    3   6701 Center Drive West, Suite 610
    4   Los Angeles, California 90045
        Telephone: (310) 846-5800
    5
        Fax: (310) 846-5801
    6
        Attorney for Plaintiff
    7
    8                              UNITED STATES DISTRICT COURT
    9                                FOR THE CENTRAL DISTRICT
                                           OF CALIFORNIA
   10
   11   ------------------------------------------------------X   CIVIL ACTION NO.
        BRAVADO INTERNATIONAL GROUP                               09-9066 PSG (CWx)
   12
        MERCHANDISING SERVICES, INC.
   13
                                                                  REQUEST FOR ENTRY
   14
                                      Plaintiff,                  OF DEFAULT
   15
   16                           -against-

   17   JIN O. CHA a/k/a JIN CHA, OK SPORTSWEAR,
   18   EZ SPORTSWEAR, CHANG OH KIM a/k/a
        CHANG O. KIM a/k/a CHUCK KIM, EDEN
   19
        SPORTS, INC., JUSTIN JU, SY SPORTS,
   20   SUSAN LEE a/k/a SUSAN YOON, LEE’S
        FAMILY, INC., GREEN T CORP., KYUNG
   21
        SOOK MA, CESAR IGIESIAS, BLING BLING, INC.,
   22   KAUH UN LEE, ARTHUR BERMAN, WACKY
   23   PLANET a/k/a WACKYPLANET.COM, a/k/a
        THEPLANETSHOPS.COM, DAVID AHOUBIAN,
   24   a/k/a DAVID AHOUBIN a/k/a DAVID AHOUBIM,
   25   D&T DISTRIBUTION, PARIS FASHIONS,
        CLOTHING ISLAND a/k/a CLOTHINGISLAND.COM,
   26
        PRINT LIBERATION, JAIME DILLON, NICK
   27   PAPARONE, DR. JAY’S, INC. a/k/a DR. JAYS
        a/k/a DR. JAYS.COM, MAGGI FASHION
   28


                                                          1
Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 2 of 6 Page ID #:418




    1   WHOLESALE, INC., MANSOUR ROKHSARZADEH,
    2   AZIZI AFSHIN a/k/a AFSHIN AZIZI, BARGIN
        WHOLESALER CORPORATION a/k/a BARGIN
    3   WHOLESALER.COM a/k/a WHOLESALECLOTHING
    4   MARKET.COM a/k/a TBWHOLESALER.COM a/k/a
        TOP BRANDS WHOLESALER a/k/a TOP BRANDS,
    5
        AHMAD JAMHOUR, OZ COMMUNICATIONS, INC.
    6   a/k/a CRAZYTEES.NET, OTTO SUAREZ, OLGA LYONS,
        SHOP RUMOR, LLC, ANOOSHKA ZAKARIAN,
    7
        ESTHER LEE, KEUM SPORTSWEAR CORP.,
    8   CHAN SONG LEE, AFRICAN AMERICAN DOLLAR
    9   STORE, EDNA CLEMENT SWAN, JACK LEIBERMAN
        a/k/a JACK LIEBERMAN, PROGRESSIVERAGS.COM,
   10   SKREENED, LLC, DANIEL CHRISTOPHER FOX, SHIEKH,
   11   LLC d/b/a SHIEKH SHOES, INCREDIBLEGIFTS.COM,
        DANIEL LASSOFF, SHAKY CITY BLUES, MARIO
   12
        ONTIVEROS, MAIN COLLECTION, INC. a/k/a MAIN
   13   SPORTSWEAR, SU YOUNG CHO, MB SPORTSWEAR,
        CHOUNG H. CHOE, RIGHT THANG, HYO JANG YOON,
   14
        BUY MERCHANT, INC. a/k/a BUYMERCHANT.COM,
   15   CRAIG N. BENTHAM, STEAL DEAL, INC. ABRAHAM
   16   DAVOOD, MICHAEL DAVOOD, EBBY DAVOOD,
        THE WILD SIDE, INC. a/k/a THEWILDSIDE.COM,
   17   KINGSLEY SYME a/k/a KINGLEY SYMES,
   18   SETUP SITE, INC. a/k/a HARRINGTON OUTLETS
        a/k/a OBAMATSHIRTS.US, SOUR CANDY, SHOE
   19
        BALANCE INTERNATIONAL YAK SHOE INC.
   20   a/k/a WHOLESALE SITUATION, JASON AREF, JULIO
        AREF, WATCH TIME, INC., AZIZ R. ALI, UNISHOW
   21
        (USA), INC. a/k/a UNISHOW, INC., GARY CHEN, RENA
   22   CHEN, AMILINE.COM, JIAN ZHU, GRAVITY TRADING,
   23   INC., TONY IN CHONG,
                                               Defendants.
   24   ------------------------------------------------------X
   25
   26        TO THE CLERK OF THE COURT:
   27
   28


                                             2
Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 3 of 6 Page ID #:419




    1         Plaintiff hereby requests that the Clerk of the Court enter default against
    2   Defendants Watch Time, Inc., Aziz R. Ali, MB Sportswear, Choung H. Choe,
    3   Kingsley Syme a/k/a Kingley Symes, Setup Site, Inc. a/k/a Harrington Outlets
    4   a/k/a Obamatshirts.us., Maggi Fashion Wholesale, Inc., Mansour Rokhsarzadeh,
    5
        Right Thang, Hyo Jang Yoon, Sy Sports, Susan Lee a/k/a Susan Yoon, Lee’s
    6
        Family, Inc., Eden Sports, Inc., Jack Leiberman a/k/a Jack Lieberman and
    7
        Progressiverags.com.
    8
    9
              On February 3, 2010, MB Sportswear was served by leaving a copy of the
   10
        summons and complaint with the managing agent of said entity pursuant to Rule
   11
        4(h)(1)(B) of the Federal Rules of Civil Procedure and/or California Code of
   12
        Civil Procedure Section 416.10. Choung H. Choe was personally served with the
   13
        summons and complaint on February 3, 2010 pursuant to Rule 4(e)(2)(A) of the
   14
   15
        Federal Rules of Civil Procedure and/or California Code of Civil Procedure

   16   Section 415.10.

   17
   18         On April 9, 2010, Sy Sports, Eden Sports, Inc. and Lee’s Family, Inc. were
   19   served by leaving copies of the summons and complaint with someone apparently
   20   in charge at said parties’ place of business with copies of said documents mailed
   21   on April 16, 2010 pursuant to California Code of Civil Procedure Section 416.20.
   22   Susan Lee a/k/a Susan Yoon was served with the summons and complaint at her
   23   place of business on April 9, 2010 with a copy mailed on April 16, 2010 pursuant
   24   to California Code of Civil Procedure Section 415.20(b).
   25
   26
              On March 16, 2010, Setup Site, Inc. a/k/a Harrington Outlets a/k/a
   27
        Obamatshirts.us was served by leaving a copy of the summons and complaint with
   28


                                                   3
Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 4 of 6 Page ID #:420




    1   the managing agent of said entity pursuant to Rule 4(h)(1)(B) of the Federal Rules
    2   of Civil Procedure. Kingsley Syme a/k/a Kingley Symes was personally served
    3   with the summons and complaint on March 16, 2010 pursuant to Rule 4(e)(2)(A)
    4   of the Federal Rules of Civil Procedure.
    5
    6
              On February 1, 2010, Watch Time, Inc. was served by leaving a copy of
    7
        the summons and complaint with the person apparently in charge pursuant to
    8
        California Code of Civil Procedure Section 415.20. Aziz R. Ali was served with
    9
        the summons and complaint on February 3, 2010 with a copy of the summons
   10
        and complaint mailed on February 9, 2010 pursuant to California Code of Civil
   11
        Procedure Section 415.20(b).
   12
   13
              On February 5, 2010, Maggi Fashion Wholesale, Inc. was served by leaving
   14
   15
        a copy of the summons and complaint with the person apparently in charge at said

   16   party’s place of business and by mailing a copy of the summons and complaint on

   17   February 8, 2010 pursuant to California Code of Civil Procedure Section 415.20.
   18   Mansour Rokhsarzadeh was served with the summons and complaint on February
   19   5, 2010 which was also mailed on February 8, 2010 pursuant to California Code of
   20   Civil Procedure Section 415.10.
   21
   22         On March 2, 2010, Progressiverags.com was served by leaving a copy of
   23   the summons and complaint with the managing agent of said entity pursuant to
   24   Rule 4(h)(1)(B) of the Federal Rules of Civil Procedure. Jack Leiberman a/k/a
   25   Jack Lieberman was served with the summons and complaint on March 2, 2010
   26
        pursuant to Rule 4(e)(2)(B) of the Federal Rules of Civil Procedure by leaving
   27
   28


                                                   4
Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 5 of 6 Page ID #:421




    1   said documents with a person of suitable age at said party’s usual place of abode
    2   or dwelling house.
    3
    4         On February 5, 2010, Right Thang was served by leaving a copy of the
    5
        summons and complaint with the person apparently in charge at said party’s
    6
        place of business with a copy of the summons and complaint mailed on February
    7
        9, 2010 pursuant to California Code of Civil Procedure Section 415.20. Hyo
    8
        Jang Yoon was served with the summons and complaint on February 5, 2010
    9
        with a copy of the summons and complaint mailed on February 9, 2010 pursuant
   10
        to California Code of Civil Procedure Section 415.20(b).
   11
   12
              The time to respond to the summons and complaint has elapsed as to said
   13
        defendants and neither has served or filed a responsive pleading.
   14
   15
   16         WHEREFORE, it is respectfully requested that the Clerk enter default

   17   against defendants Watch Time, Inc., Aziz R. Ali, MB Sportswear, Choung H.
   18   Choe, Kingsley Syme a/k/a Kingley Symes, Setup Site, Inc. a/k/a Harrington
   19   Outlets a/k/a Obamatshirts.us., Maggi Fashion Wholesale, Inc., Mansour
   20   Rokhsarzadeh, Right Thang, Hyo Jang Yoon, Sy Sports, Susan Lee a/k/a Susan
   21   ///
   22   ///
   23   ///
   24   ///
   25
   26
   27
   28


                                                   5
Case 2:09-cv-09066-PSG-CW Document 99 Filed 05/25/10 Page 6 of 6 Page ID #:422




    1   Yoon, Lee’s Family, Inc., Eden Sports, Inc., Jack Leiberman a/k/a Jack Lieberman
    2   and Progressiverags.com.
    3
    4   Dated: May 25, 2010                          Respectfully submitted,
               Los Angeles, CA
    5
    6                                                By:s/Kenneth A. Feinswog
                                                       KENNETH A. FEINSWOG
    7
                                                       Attorney for Plaintiffs
    8                                                  6701 Center Drive West, Suite 610
    9                                                  Los Angeles, CA 90045
                                                       (310) 846-5800
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                 6
